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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT

 JOSEPH VELLALI et al.,

           Plaintiffs,                                  Civil Action No. 3:16-cv-01345-AWT
 v.
                                                        Hon. Alvin W. Thompson
 YALE UNIVERSITY et al.,

           Defendants.

                         DECLARATION OF WENDY DOMINGUEZ

      I, Wendy Dominguez, of lawful age, declare as follows:

      1.   I am the President and Co-Founder of Innovest Portfolio Solutions, LLC in Denver,

Colorado. In that capacity, I provide investment-consulting services to clients. This includes

advising defined contribution plan sponsors on their plan investment lineups, monitoring of the

performance of investments and the removal and replacement of investment options.

      2.   I have personal knowledge of the following facts and, if called and sworn as a witness,

could and would testify competently thereto.

      3.   A true and correct copy of my August 19, 2019 expert report and supporting documents

was attached to the Declaration of Brian D. Netter in Support of Defendants’ Motion to Seal as

Exhibit 5 (Doc. 283-05). A true and correct copy of my November 5, 2019 rebuttal report and

supporting documents was attached to the Declaration of Brian D. Netter in Support of

Defendants’ Motion to Seal as Exhibit 6 (Doc. 283-06). My testimony if called to testify in this

matter would be consistent with the opinions in my report with the exception of additional

opinions based upon discovery and events that have taken place subsequent to my report.
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    I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

    Executed this 2nd day of February, 2021.


                                                 Wendy Dominguez




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